      Case 2:15-cv-00060-SEH Document 14 Filed 12/16/15 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT                         FILED
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION                                    DEC 1ti 2015
                                                                           Clerl<, U.S. District Court
                                                                              District Of Montana
                                                                                     Helena
 CRAIG DISHER AND SCOTT                     Cause No. 15-cv-60-BU-SEH
 DISHER,

              Plaintiffs,                   ORDER DISMISSING ALL
                                            CLAIMS WITH PREJUDICE
 v.

 STATE FARM FIRE AND
 CASUALTY COMPANY dba STATE
 FARM or STATE FARM GROUP, and
 DOES I through X.

              Defendants.


      Pursuant to written Stipulation by and between counsel for all parties that all

of the claims alleged in the above-captioned Complaint have been fully and finally

compromised and settled upon the merits,

      IT IS HEREBY ORDERED that all of the claims in the above-captioned

action are dismissed with prejudice and each party to pay their respective costs and

fees of any kind or nature.
                            ~
      DATED this //, day of December, 2015.



                                    ~£lfu!~~
                                      United States District Court
